

Matter of Gost (2024 NY Slip Op 01149)





Matter of Gost


2024 NY Slip Op 01149


Decided on February 29, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 29, 2024

PM-24-24
[*1]In the Matter of Kimberly Jeanne Gost, an Attorney. (Attorney Registration No. 4432266)

Calendar Date:February 26, 2024

Before:Pritzker, J.P., Lynch, Reynolds Fitzgerald, McShan and Powers, JJ.

Kimberly Jeanne Gost, Longport, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kimberly Jeanne Gost was admitted to practice by this Court in 2006 and lists a business address in Longport, New Jersey with the Office of Court Administration. Gost now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gost's application.
Upon reading Gost's affidavit sworn to January 2, 2024 and filed January 4, 2024, and upon reading the February 22, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Gost is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Pritzker, J.P., Lynch, Reynolds Fitzgerald, McShan and Powers, JJ., concur.
ORDERED that Kimberly Jeanne Gost's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kimberly Jeanne Gost's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kimberly Jeanne Gost is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gost is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kimberly Jeanne Gost shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








